Case 1:21-cr-00129-ABJ Document 109-2 Filed 03/16/23 Page 1 of 1

2 Messages

€ Inbox Back in Miami Lr

Karla Amaya Bonilla Yesterday
Way To: Aubrey Webb |

Good Afternoon,

Please see email sent to me by Mr. Garcia.

From: Gabriel Garcia
<airborngarcia23 @ yahoo.com>

Sent: Sunday, March 5, 2023 7:24 PM

To: Karla Amaya Bonilla

<karla_amayabonilla @flsp.uscourts.gov>

Cc: Juan Lora <Juan_Lora@flsp.uscourts.gov>
Subject: Back in Miami

CAUTION - EXTERNAL:

Good evening, just wanted to let you know | got
back into Miami earlier today.

Gabriel Garcia
